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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 SCOTT PLACE PHARMACY, LLC,                     §
                                                §
         Plaintiff,                             §
                                                §
 v.                                             §    C.A. No. 4:17-cv-1653
                                                §
 UNITED HEALTH CARE OF TEXAS,                   §
 AND OPTUMRX, LLC                               §
                                                §
         Defendants.




                        STIPULATED DISMISSAL WITH PREJUDICE

        The parties hereby stipulate to dismissal of this action with prejudice, with each party

bearing its own attorney’s fees and costs.




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 Dated: July 28, 2017                           Respectfully submitted,

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                                                INC.




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                                   CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on the parties listed below on July 28, 2017.

 Via ECF:

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